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                       Exhibit A
Georgetown University Mail - RE: Interested in Recruiting                                                                           3/26/18, 6:36 AM
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                                                            Taxation.Interview.Program [Organization] <taxrecruit@georgetown.edu>



 RE: Interested in Recruiting
 1 message

 Taxation Interview Program <taxrecruit@law.georgetown.edu>                               Wed, Dec 16, 2015 at 3:31 PM
 To: "John Anthony Castro, J.D., LL.M." <j.castro@castroandco.com>, Taxation Interview Program
 <taxrecruit@law.georgetown.edu>
 Cc: "Nan D. Hunter" <ndh5@law.georgetown.edu>


    Dear John,



    I hope that you are doing well. I have discussed your interest in TIP with Dean Hunter, who is copied here, and we do
    not think that the program is suited to your recruitment efforts, given some of the issues that arose while you were a
    Tax LL.M. student participating in TIP.



    Thanks,

    Molly



    Molly Scott, Esq.

    Assistant Director, Graduate Career & Professional Development

    Georgetown University Law Center

    Hotung 5000

    (202) 662-9368 (direct)

    (202) 662-9036 (front desk)

    http://www.law.georgetown.edu/graduate/ProfessionalDevelopment.htm



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    From: John Anthony Castro, J.D., LL.M. [mailto:j.castro@castroandco.com]
    Sent: Friday, December 11, 2015 7:13 PM
    To: Taxation Interview Program
    Subject: Interested in Recruiting




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Georgetown University Mail - RE: Interested in Recruiting                                                                           3/26/18, 6:36 AM
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    Can you send me more information on how our firm might be able to participate in and possibly recruit an upcoming
    graduate?



    _________________________________________________




             John Anthony Castro, J.D., LL.M.
             International Tax Attorney

             Managing Partner, Castro & Co. LLC


             Direct 202-594-4344, Fax 866-700-7595

             J.Castro@CastroAndCo.com




             202-792-6600 Washington DC
             407-990-1170 Orlando

             305-747-7006 Miami

             214-444-7010 Dallas



             1701 Pennsylvania Ave NW, Suite 300, Washington, DC 20006

             121 South Orange Avenue, Suite 1500, Orlando, FL 32801

             701 Brickell Avenue, Suite 1550, Miami, FL 33131

             13155 Noel Road, Suite 900, Dallas, TX 75240



             CastroAndCo.com




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Georgetown University Mail - RE: Interested in Recruiting                                                                           3/26/18, 6:36 AM
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